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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                           MISSOULA DIVISION



 UNITED STATES OF AMERICA,                 9:20-PO-5010-KLD
                                           9:20-PO-5011-KLD
                    Plaintiff,             9:20-PO-5021-KLD
                                           Ticket Number: F4864897, 6457036,
 vs.                                        F4864898 and F4864894
                                           Location Code: M10 M26
 TIMOTHY J. PRATT,                         Disposition Code: TC

                    Defendant.             JUDGMENT IN A CRIMINAL CASE



       The Defendant, Timothy J. Pratt, was present in court and entered a plea of
guilty to the charges of: TRAFFIC OFFENSES.
       The court imposes the following sentence pursuant to the Sentencing
Reform Act of 1984:
             1. Defendant gets credit for time served plus $40.00 Special
Assessment for each violation for a total of $160.00. Defendant must pay by check
or money order payable to AU.S. COURTS C CVB@ and mailed to CENTRAL
VIOLATIONS BUREAU, P.O. Box 780549 San Antonio, TX 78278. Defendant
may also pay online at www.cvb.uscourts.gov . The fine shall be paid as follows:
$40.00 to be paid each month starting on June 30, 2021. Defendant is also
prohibited from entering any BLM land for a period of 2 years.
       Defendant is advised that pursuant to 18 U.S.C. § 3742(g) and Federal Rule
of Criminal Procedure 58(g)(2)(B), Defendant has the right to appeal the sentence
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imposed in this case to a United States District Court Judge within fourteen (14)
days after entry of judgment, by filing with the Clerk of District Court a statement
specifying the judgment from which the appeal is taken, and by serving a copy of
the statement upon the United States Attorney (personally or by mail) and filing a
copy with Magistrate Kathleen L. Desoto. If you appeal, you will be required to
pay a $38 fee pursuant to 28 U.S.C. § 1914, Fee Schedule, subsection (10) at the
time of filing your appeal. You also will be required to furnish the District Court
Judge a copy of the record, which consists of the “original papers and exhibits in
the case together with any transcript, tape or other recording of the proceedings
and a certified copy of the docket entries which shall be transmitted promptly to
the clerk of court.” Fed. R. Crim. P. 58(g)(2)(c).


Date of Imposition of Judgment: May 10, 2021.


  5/25/2021
____________________                                 ______________________
                                                     ________________________
Date Signed                                          KATHLEEN L.   L DESOTO
                                                                     DESOTO
                                                     United States Magistrate Judge
